     Case 2:13-cr-00008-WFN    ECF No. 1279    filed 08/13/13   PageID.4513 Page 1 of 1




 1
                          UNITED STATES DISTRICT COURT
 2
                        EASTERN DISTRICT OF WASHINGTON
 3
 4
     UNITED STATES OF AMERICA,                    No. CR-13-008-WFN-21
 5
 6                     Plaintiff,                 ORDER DENYING MOTION
                                                  TO RECONSIDER
 7 vs.
 8                                                ---- U.S. MARSHAL ACTION ----
   JOEISHA LANAY JEFFERSON,                                  REQUIRED
 9
10                     Defendant.
11         Defendant moves for an order to reconsider the pretrial detention ordered
12   February 18, 2013, by Judge Kenton in the Central District of California. The
13   undersigned has reviewed the proffered materials by the parties and is unable to
14   conclude Judge Kenton’s order should be altered. Accordingly, the Motion, ECF
15   No. 1251. is DENIED.
16         Defendant also represents it is difficult to communicate with counsel at the
17   Spokane County Jail, as the audio is inadequate. The U.S. Marshal is directed, if
18   request is made by Defendant and, if feasible, to arrange for visitation at the
19   visitation rooms in the Spokane U.S. Courthouse.
20         If the Defendant seeks review of this Order pursuant to 18 U.S.C. § 3145(b),
21   attorney for Defendant shall file a written motion for revocation or amendment of
22   this Order within ten (10) days before the district judge to whom this case is
23   assigned and note it for hearing at the earliest possible date. Both parties are
24   responsible to ensure the motion is determined promptly.
25         IT IS SO ORDERED.
26   DATED August 13, 2013.
27                            S/ CYNTHIA IMBROGNO
                        UNITED STATES MAGISTRATE JUDGE
28



     ORDER - 1
